857 F.2d 1468Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Steve Allen BROWN, Petitioner-Appellant,v.R.M. MUNCY;  Attorney General of Virginia, Respondent-Appellees.
    No. 86-6696.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 31, 1988.Decided:  Aug. 7, 1988.
    
      Steve Allen Brown, appellant pro se.
      Robert Homer Anderson, III (Office of the Attorney General of Virginia), for appellees.
      Before JAMES DICKSON PHILLIPS, ERVIN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Steve Allen Brown seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Brown v. Muncy, C/A No. 86-167-R (E.D.Va. July 25, 1986).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    